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 4                              UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6                                                 -o0o-
 7   UNITED STATES OF AMERICA,           )
                                         )
 8                     Plaintiff,        )                 Case No. 2:07-cr-241-KJD-RJJ
                                         )
 9               vs.                     )                 ORDER
                                         )
10   STEPHEN FITZGERALD BURRELL,         )
                                         )
11                     Defendant.        )
     ____________________________________)
12
13          The Court has received notification that space is available at the halfway house and they can
14   accommodate defendant’s placement.
15          IT IS HEREBY ORDERED that the defendant shall be released from custody and he shall
16   reside at the halfway house pending further proceedings before the Honorable Kent J. Dawson. All
17   other previously imposed conditions will remain in full force and effect.
18          DATED this 29th day of November, 2011.
19
20                                                         ___________________________________
                                                           GEORGE FOLEY, JR.
21                                                         United States Magistrate Judge
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